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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
       v.                                  : CASE NO. 21 CR. 35 (EGS)
                                           :
RONALD COLTON MCABEE,                      :
    Defendant.                             :
                                           ORDER

       Upon consideration of the Government's Emergency Motion to Stay and for Review

and Appeal of Release Order, ECF No. 108, as to Defendant Ronald Colton McAbee,

it is hereby

   ORDERED, that the Government's Motion for Emergency Stay is GRANTED, and the

   order entered by U.S. Magistrate Judge Jeffrey S. Frensley, U.S. District Court for the

   Middle District of Tennessee, to release Mr. McAbee pending trial is STAYED pending

   the Court's ruling on the Government’s Motion for Review and Appeal of the Release

   Order. Mr. McAbee shall be held without bond until the Court has issued that ruling.




                                                   /s/
   Dated: 9/8/2021                          EMMET G. SULLIVAN
                                            SENIOR UNITED STATES DISTRICT JUDGE
                                            UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF COLUMBIA




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